Case 1:23-cr-00010-RMB Document 30-12 Filed 07/28/23 Page 1 of 2




            EXHIBIT L
                       Case 1:23-cr-00010-RMB Document 30-12 Filed 07/28/23 Page 2 of 2
                                                                         - 1 of 1 -
FD-302 (Rev. 5-8-10)
                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       01/30/2023



           On January 27, 2023, Special Agent Gurdeep Singh made copies of
        miscellaneous documents collected from Eisenberg during his arrest on
        December 26, 2022.

             The copies will be maintained in the 1A associated this serial.




   Investigation on    01/27/2023           at   New York, New York, United States (In Person)

   File #   318C-NY-3671011                                                                                                  Date drafted    01/30/2023

   by   SINGH GURDEEP
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